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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

BLUE STAR PRESS, LLC,                            §
                                                 §
                  Plaintiff,                     §
                                                 §
vs.                                              §
                                                 §
REAGAN LEWIS, SADA LEWIS, SEAN                   §                SA-17-CV-00111-OLG
BLASKO, CHEVEUX ROUX, LLC,                       §
CATHOLIC ART PUBLISHERS, LLC, HP                 §
PUBLISHERS, LLC, SCRSM                           §
ENTERPRISES, LLC,                                §
                                                 §
                  Defendants.                    §
                                                 §

                       ADVISORY REGARDING OUTCOME OF MEDIATION

       The undersigned held a mediation in the above-styled cause on December 13, 2017. In

accordance with Local Civil Rule CV-88(i), the undersigned advises the District Court that Plaintiff

Blue Star Press f/k/a PCG Publishing Group LLC, Counter-Defendant PCG Publishing Group LLC,

and Defendants/Counter-Plaintiffs Reagan Lewis and Sada Lewis have settled all claims they have

asserted against each other. Thus, those parties shall file their dismissal paperwork with the Court

on or before January 12, 2018.

       The District Court is also advised that Plaintiff Blue Star Press f/k/a PCG Publishing Group

LLC, Counter-Defendant PCG Publishing Group LLC, and Third-Party Defendants Chunky Jam

LLC, Camden Hendricks, Peter Licalzi, and Tommy Barros did not reach a settlement with

Defendant/Third-Party Plaintiffs/Counter-Plaintiffs Sean Blasko and Cheveux Roux, LLC or

Defendants Catholic Art Publishers, LLC, HP Publishers, LLC, and SCRSM Enterprises, LLC.


       SIGNED this 14th day of December, 2017.




                                    ELIZABETH S. ("BETSY") CHESTNEY
                                    UNITED STATES MAGISTRATE JUDGE
